It is not the fault of the defendant that the plea of the statute of limitations is not pleaded; he directed his counsel to do so, he omitted to do it, but that omission was not intentional. From the representation made of the defendant's situation, with respect to the property in question, he might rely upon that plea with a pure conscience, as it intended to protect property which he has been long in possession of, and which he honestly acquired for a fair and valuable consideration. I think he should have liberty to enter the plea; but on payment of costs from the time it should have been entered until the motion made. The plaintiff's title will be in the same situation it was in at the time the suit was brought. *Page 528 
By the Court: Leave shall be granted the defendant to enter the plea of stat. lim. on payment of costs from the time the plea (629)  ought to have been entered until the time the motion was made to add the plea.
Cited: Hamilton v. Shepard, 4 N.C. 357.
NOTE. — See Reid v. Hester, ante, 603.